Case 2:19-cv-09065-DMG-SK Document 22 Filed 05/14/20 Page 1 of 2 Page ID #:82




  1 Elliot Gale (State Bar No. 263326)
      egale@gajplaw.com
  2 Joe Angelo (State Bar No. 268542)
      jangelo@gajplaw.com
  3 Gale, Angelo, Johnson, & Pruett, P.C.
      1430 Blue Oaks Blvd., Ste. 250
  4 Roseville, California 95747
      Telephone: 916-279-7778
  5 Facsimile: 916-721-2767

  6 Attorneys for Plaintiff
      Rene Almaraz
  7

  8                        UNITED STATES DISTRICT COURT
  9       CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
 10

 11 RENE ALMARAZ                                Case No.: 2:19-cv-09065-DMG-SK
 12               Plaintiff,
 13                                             STIPULATED REQUEST FOR
            vs.                                 DISMISSAL WITH PREJUDICE OF
 14                                             DEFENDANT US BANK, N.A.
      US BANK, N.A.
 15

 16
                  Defendant.

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                               1
                                STIPULATED REQUEST FOR DISMISSAL
Case 2:19-cv-09065-DMG-SK Document 22 Filed 05/14/20 Page 2 of 2 Page ID #:83




  1

  2         TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
  3         IT IS HEREBY STIPULATED by and between Plaintiff Rene Almaraz and
  4 Defendant US Bank, N.A. that US Bank, N.A. be dismissed from this action with

  5 prejudice pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii), and

  6 that each party shall bear its own attorneys’ fees and costs.

  7

  8 DATED: May 14, 2020                    Gale, Angelo, Johnson, & Pruett, P.C.
  9
                                           By:        /s/ Joe Angelo
 10                                        Joe Angelo
 11                                        Attorneys for Plaintiff
                                           Rene Almaraz
 12

 13
      DATED: May 14, 2020                  Faegre Drinker Biddle & Reath LLP
 14

 15
                                           By:        /s/ Michael Jaeger
 16                                        Michael Jaeger
 17
                                           Attorneys for Defendant
                                           US Bank, N.A.
 18

 19         I, Joe Angelo, am the ECF user whose identification and password are being
 20 used to file this Stipulation. I hereby attest that Michael Jaeger concurred in this filing.

 21 /s/ Joe Angelo

 22

 23

 24

 25

 26

 27

 28

                                                  2
                                 STIPULATED REQUEST FOR DISMISSAL
